       Case 5:24-cv-01153-PSG-MRW                 Document 1     Filed 05/31/24          Page 1 of 5 Page ID #:1




        1   Name:                             I
        2 Address:                                        ~~~                  c;~ckK U.S. DISTRICT
        3
        4 Phone: ~l.Q~~~~`~ (~ ~1~I~~                                                 MAY 3 12024
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        5 Plaintiff In Pro Per                                              ~TRAtDISTRICTOFCAL
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~,~L                                  UNITED STATES DISTRICT COURT
        8                            CENTRAL DISTRICT OF CALIFORNIA
                                                                                                           PSG
        9                              _                   EDCV24-01 15                                            ,ti~x
       10                                                      Case No.•
                                                                           (To be supplied by the Clerk)
       11                        PLAINTIFF,               ~ COMPLAINT FOR:
       12             vs.
       13                 ~~~
       14
       15
       16
       17                                                   Jury Trial Demanded
       18                        DEFENDANT(S).
       19
       20
                                                  I.JURISDICTION
       21
       22             1 This Court has jurisdiction under
       23
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       28



            Pro Se Clinic Form                        Page Number
Case 5:24-cv-01153-PSG-MRW        Document 1          Filed 05/31/24   Page 2 of 5 Page ID #:2




 1
                                 V. CAUSES OF ACTION
 2
 3
 4
                              FIRST CAUSE OF ACTION
 5
                C~,~~.a ~~M ~"C~~
 6                                 insert      ~
                                               c ,o~tan

 7         (As against Defendant(s):

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Case 5:24-cv-01153-PSG-MRW                Document 1    Filed 05/31/24   Page 3 of 5 Page ID #:3




 1                                 IV. STATEMENT OF FACTS
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 3                   . ~_S.~f~'M   ~t'u     s~~ h~ ~:~~ to ~'t~
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Case 5:24-cv-01153-PSG-MRW              Document 1      Filed 05/31/24   Page 4 of 5 Page ID #:4




 1                                          II. VENUE
 2
 3               2. Venue is proper pursuant to(~~~~-~k           `Q~Y1M `~3
                                                                           {~
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                                          III. PARTIES
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11
12 3.            Plaintiffls name is~         ~~~1~                      .Plaintiff resides
13 at:
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15 I
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18               4. Defendant ~cZ~V
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24               5. Defendant
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Case 5:24-cv-01153-PSG-MRW              Document 1       Filed 05/31/24    Page 5 of 5 Page ID #:5




 1                               VII. DEMAND FOR JURY TRIAL
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 4             Plaintiff hereby requests a jury trial on all issues raised in this complaint.
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 7                                        Dated:          ~I
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 9
10                                        Sign:~~~~a            ~~~ ~
11                                 Print Name: ~                  1~        ~
12                                               Plainti f in pro per
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